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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 07-60027-CR-ZLOCH/Snow




  UNITED STATES OF AMERICA,

              Plaintiff,

  v.

  FRANK HERNANDEZ, et al.

            Defendants.
  ______________________________
                                     O R D E R

              THIS CAUSE is before the Court on defendant Edgar Cruz'

  Motion to Adopt (DE 416) Co-Defendants EVA's and Tropic's Response

  in Opposition to Government's Application for Protective Order.
  Being fully advised, it is hereby

              ORDERED AND ADJUDGED that the motion is GRANTED, except

  as   to   any   matter    where   standing   is   an   essential   element   of

  participation.      Any appeal from or objection to any magistrate

  judge ruling must be taken individually, specifically and timely.
              DONE AND ORDERED at Fort Lauderdale, Florida, this 12th

  day of July, 2007.




  Copies to:

  See Attached Service List
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                                 SERVICE LIST

                       USA v. FRANK HERNANDEZ, et al.

                      CASE NO. 06-60027-CR-ZLOCH/Snow




  AUSA Ellen Cohen (WPB)
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  Dan Forman, Esq. (D-Edwards and Local Counsel for Hardiman)
  Mark Hardiman, Esq. (D-Edwards)
  AFPD Chantel Doakes (FTL) (D-Baron)




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